engedoeneors Case 1:20-cr-00136-JMS Document 165 Filed 08/08/22 Pagelofi PagelD.1170

FILED IN THE
ORIGINAL UNITED STATES DISTRIC) COURT
DISTRICT OF HAWAII
UNITED STATES DISTRICT COURT AUG 08 2022
DISTRICT OF HAWAII at__o'clock and 2 Smun. Pa
CLERK, U.S. District Court
Request for Media Blogging uf

The undersigned requests that the court allow blogging during the proceeding(s) described
below. Requests must be emailed to the presiding judge’s email address for orders. For matters
calendared at least 28 days in advance, requests must be received by the court 14 days prior to the
start of the proceeding. For matters calendared less than 28 days in advance, requests must be
made as soon as practicable.

 

Case Name: USA v. Alo-Kaonohi, etal. — Case No. 1:20-cr-00136-JMS
Presiding District or Magistrate Judge: District Judge J. Michael Seabright

 

 

 

Media Outlet: Honolulu Star-Advertiser

 

Representative(s): | Jackson Truesdale
Email Address To Send Completed Request Form: itruesdale@staradvertiser.com
Permission being sought for the following hearing(s):

 

 

Date Time Hearing Type
Aug. 16, 2022 | 9 AM Trial

 

 

+ Subsequent sessions until trial completes

 

 

 

 

 

 

 

 

DATED: Aug. 8, 2022 SIGNATURE: oO

PRINTED NAME: Jackson Truesdale

 

 

 

 

 

 

 

 

 

 

 

IT IS SO-ORDERED.
Chemo APPROVED AS MODIFIED DENIED
DATED: s\8l Gls A he LS Ls of

 

 

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